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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-831V
                                    Filed: November 30, 2016

* * * * * * * * * * * * * * * *                            UNPUBLISHED
ROBIN HARRISON,                             *
                                            *              Special Master Hamilton-Fieldman
               Petitioner,                  *
                                            *              Joint Stipulation on Damages;
v.                                          *              Influenza Vaccine; Guillain-Barré
                                            *              Syndrome.
SECRETARY OF HEALTH                         *
AND HUMAN SERVICES,                         *
                                            *
               Respondent.                  *
* * * * * * * * * * * * * * * *
Nicholas E. Bunch, White, Getgey & Meyer, Cincinnati, OH, for Petitioner.
Jennifer L. Reynaud, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION1

        On October 23, 2013, Robin Harrison (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34
(2012). Petitioner alleged that as a result of an influenza (“flu”) vaccine administered on
November 2, 2010, she developed Guillain-Barré Syndrome (“GBS”). See Stipulation for
Award at ¶ 2, 4, filed Nov. 30, 2016. Petitioner further alleged that she suffered residual effects
of these injuries for more than six months. Id. at ¶ 4.

       On November 30, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation to Petitioner. Respondent denies that the flu vaccine
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, codified as amended at 44 U.S.C. §
3501 note (2012). As provided by Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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caused Petitioner’s GBS and residual effects, or any other injury. Nevertheless, the parties agree
to the joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation
reasonable and adopts it as the decision of the Court in awarding damages, on the terms set forth
therein.

        The parties stipulate that Petitioner shall receive the following compensation:

               A lump sum of $81,000.00, in the form of a check payable to Petitioner. This
               amount represents compensation for all damages that would be available under
               42 U.S.C. § 300aa-15(a).

Id. at ¶ 8.

       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

        IT IS SO ORDERED.

                                              s/ Lisa Hamilton-Fieldman
                                              Lisa Hamilton-Fieldman
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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